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    1                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
    2
        - - - - - - - - - - - - - -       X
    3
        UNITED STATES OF AMERICA,         :    19-CR-575(FB)
    4
                     Plaintiff,           :
    5                                          United States Courthouse
                -against-                 :    Brooklyn, New York
    6
        GEORGE CAMPOS, BENITO DIZENZO
    7   and JOHN SIMONLACAJ,          :
                                               January 12, 2021
    8                Defendants.          :    10:15 o'clock a.m.

    9   - - - - - - - - - - - - - -       X

   10
                               TRANSCRIPT OF PLEADING
   11                     BEFORE THE HONORABLE ROANNE MANN
                           UNITED STATES MAGISTRATE JUDGE.
   12
        APPEARANCES:
   13
        For the Government:              SETH D. DuCHARME
   14                                    ACTING UNITED STATES ATTORNEY
                                         EASTERN DISTRICT OF NEW YORK
   15                                    BY: KEITH EDELMAN
                                         Assistant United States Attorney
   16                                    271 Cadman Plaza East
                                         Brooklyn, New York
   17

   18   For Deft. G. Campos:             FLORIAN MIEDEL, ESQ.

   19
        For Deft. B. Dizenzo:            JAMES R. MONTELEON, ESQ.
   20

   21   For Deft. J. Simonlacaj:         GLENN C. COLTON, ESQ.

   22   Court Reporter:                  Charleane M. Heading
                                         225 Cadman Plaza East
   23                                    Brooklyn, New York
                                         (718) 613-2643
   24
        Proceedings recorded by mechanical stenography, transcript
   25   produced by computer-aided transcription.



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    1                (All present by videoconference including the

    2   defendants.)

    3                THE CLERK:    Criminal cause for pleading.      United

    4   States versus George Campos, Benito Dizenzo, John Simonlacaj,

    5   docket number 2018-CR-575.

    6                Will counsel for the government please state their

    7   appearance for the record?

    8                MR. EDELMAN:       Good morning, Your Honor.   Keith

    9   Edelman for the United States.

   10                THE COURT:    Good morning.

   11                THE CLERK:    And for defendant George Campos?

   12                MR. MIEDEL:    Good morning.    Florian Miedel for

   13   George Campos.

   14                THE CLERK:    And for Mr. Dizenzo?

   15                MR. MONTELEON:      James Monteleon for defendant Benito

   16   Dizenzo.

   17                THE COURT:    Is that your client with you?

   18                MR. MONTELEON:      Yes, Your Honor.

   19                THE COURT:    Okay.

   20                THE CLERK:    And for Mr. Simonlacaj?

   21                MR. COLTON:    Good morning, Your Honor.       Glenn Colton

   22   from Arent Fox.      I do have two of my associates just

   23   observing.    It's the first time they've gotten to see a video

   24   plea and I ask the Court's permission to have them view, of

   25   course with the cameras off and muted so they don't get in the



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    1   way.

    2               THE COURT:    Certainly.    In fact, I would ask

    3   everyone who is not speaking to please mute your audio.

    4               I hope everyone is safe and healthy.           Let me begin

    5   this proceeding by having my law clerk, Mr. Proujansky,

    6   administer the oath to the three defendants.

    7               THE CLERK:    Will the three defendants please raise

    8   your right hand.

    9               (The defendants were sworn by the Clerk.)

   10               DEFENDANT G. CAMPOS:       Yes.

   11               DEFENDANT DIZENZO:     Yes.

   12               DEFENDANT SIMONLACAJ:      Yes.

   13               THE CLERK:    Mr. Campos, can you state and spell your

   14   last name for the record?

   15               DEFENDANT G. CAMPOS:       C-A-M-P-O-S.

   16               THE CLERK:    And Mr. Dizenzo, can you do the same?

   17               DEFENDANT DIZENZO:     Benito Dizenzo, B-E-N-I-T-O,

   18   last name, D-I-Z-E-N-Z-O.

   19               THE CLERK:    And Mr. Simonlacaj?

   20               DEFENDANT SIMONLACAJ:      Sure.        It's John Simonlacaj.

   21   S-I-M-O-N-L-A-C-A-J.

   22               THE COURT:    Each of you should understand that

   23   having been sworn, your answers to my questions will be

   24   subject to the penalties of perjury if you do not answer

   25   truthfully.



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    1               Do you understand that, Mr. Campos?

    2               DEFENDANT G. CAMPOS:        Yes.

    3               THE COURT:    Do you understand that, Mr. Dizenzo?

    4   You have to unmute your microphone.

    5               DEFENDANT DIZENZO:     Yes, ma'am.

    6               THE COURT:    And do you understand what I just said,

    7   Mr. Simonlacaj?

    8               DEFENDANT SIMONLACAJ:       Yes, Your Honor.

    9               THE COURT:    At the outset, I would note that we are

   10   proceeding by way of videoconference.            The courthouse is

   11   essentially closed on account of the pandemic pursuant to an

   12   order issued by the Chief Judge.         I nevertheless want to make

   13   sure that the defendants consent to proceed remotely rather

   14   than waiting until the courthouse reopens.

   15               Mr. Miedel, have you discussed this matter with your

   16   client, Mr. Campos?

   17               MR. MIEDEL:    Yes.

   18               THE COURT:    And does he consent?

   19               MR. MIEDEL:    Yes.

   20               THE COURT:    Mr. Campos, do you consent to proceeding

   21   by way of videoconference rather than awaiting the reopening

   22   of the courthouse?

   23               DEFENDANT G. CAMPOS:        Yes.

   24               THE COURT:    Are you making this decision voluntarily

   25   and of your own free will?



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    1               MR. CAMPOS:    Yes.

    2               THE COURT:    Mr. Monteleon, have you discussed the

    3   matter proceeding with your client, Mr. Dizenzo?

    4               MR. MONTELEON:     Yes, Your Honor.

    5               THE COURT:    Does he consent?

    6               MR. MONTELEON:     Yes, Your Honor.

    7               THE COURT:    Mr. Dizenzo, do you agree to proceed

    8   remotely rather than waiting until the courthouse reopens?

    9               DEFENDANT DIZENZO:     Yes, Your Honor.

   10               THE COURT:    Are you making this decision voluntarily

   11   and of your own free will?

   12               DEFENDANT DIZENZO:     Yes.

   13               THE COURT:    I'm getting feedback and an echo.        Does

   14   anyone else hear it?

   15               THE CLERK:    Yes.    Mr. Campos and Mr. Miedel are in

   16   the same room so if one of you could turn down their volume.

   17               THE COURT:    And, lastly, Mr. Colton, have you talked

   18   with Mr. Simonlacaj about proceeding remotely?

   19               MR. COLTON:    Yes, I have, Your Honor.

   20               THE COURT:    Does he consent?

   21               MR. COLTON:    Yes, Your Honor.

   22               THE COURT:    Mr. Simonlacaj, do you agree to proceed

   23   by videoconference rather than waiting until the courthouse

   24   reopens?

   25               DEFENDANT SIMONLACAJ:       Yes, Your Honor.



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    1               THE COURT:    Are you making this decision voluntarily

    2   and of your own free will?

    3               DEFENDANT SIMONLACAJ:      Yes.

    4               THE COURT:    I find that the consent of each of the

    5   three defendants is knowing, intelligent and voluntary.           I

    6   further find that proceeding remotely serves the interest of

    7   justice in light of the global pandemic and the health risks

    8   for proceeding remotely at this time.

    9               I have before me three forms titled "Consent to have

   10   a plea taken before a United States Magistrate Judge," each

   11   one from each of the, one from each of the three defendants

   12   currently before me.

   13               Mr. Campos, I don't know if you can see it but I

   14   have the signed form that purports to have your signature on

   15   it.   Did you, in fact, sign such a consent form?

   16               DEFENDANT G. CAMPOS:       Yes.

   17               THE COURT:    And did you talk with your attorney

   18   about consenting to have a Magistrate Judge take the plea?

   19               DEFENDANT G. CAMPOS:       Yes.

   20               THE COURT:    And do you make this decision

   21   voluntarily and of your own free will?

   22               DEFENDANT G. CAMPOS:       Yes, I do.

   23               THE COURT:    Mr. Dizenzo, I have a form that purports

   24   to have your signature, I don't know if you can see it, but

   25   did you sign the form?



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    1                DEFENDANT DIZENZO:    Yes.

    2                THE COURT:    And you discussed it with your attorney?

    3                DEFENDANT DIZENZO:    Yes.

    4                THE COURT:    And are you making this decision

    5   voluntarily and of your own free will?

    6                DEFENDANT DIZENZO:    Yes.

    7                THE COURT:    And, lastly, Mr. Simonlacaj, I have your

    8   form before me.      It has what I believe is your electronic

    9   signature.    Am I correct that you electronically signed one of

   10   these consent forms?

   11                DEFENDANT SIMONLACAJ:      Yes, Your Honor.

   12                THE COURT:    And did you first speak with your

   13   attorney about this matter?

   14                DEFENDANT SIMONLACAJ:      Yes.

   15                THE COURT:    And are you making this decision

   16   voluntarily and of your own free will?

   17                DEFENDANT SIMONLACAJ:      Yes.

   18                THE COURT:    I want to make sure that each of the

   19   three defendants understands what they've agreed to by signing

   20   these consent forms.       This is Judge Block's case.     He's the

   21   judge who will sentence the three of you and will make the

   22   ultimate decision as to whether to accept your guilty pleas.

   23   If you wish, you have the absolute right to have Judge Block

   24   listen to your plea and if you choose to do that, there will

   25   be no prejudice or harm to you.



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    1               Do you understand that, Mr. Campos?

    2               DEFENDANT G. CAMPOS:       Yes.

    3               THE COURT:    Do you understand that, Mr. Dizenzo?

    4               DEFENDANT DIZENZO:     Yes.

    5               THE COURT:    Do you understand that, Mr. Simonlacaj?

    6               DEFENDANT SIMONLACAJ:      Yes.

    7               THE COURT:    On the other hand, if you wish, I will

    8   listen to your plea.      I am the United States Magistrate Judge.

    9   This proceeding is being recorded.        There is a court reporter

   10   present.    The court reporter will make a transcript of the

   11   proceeding.    Judge Block will review the transcript to decide

   12   whether to accept your plea.       He will also review it in

   13   connection with your sentence.

   14               Do you understand that, Mr. Campos?

   15               DEFENDANT G. CAMPOS:       Yes, Your Honor.

   16               THE COURT:    Do you understand that, Mr. Dizenzo?

   17               DEFENDANT DIZENZO:     Yes.

   18               THE COURT:    Do you understand that, Mr. Simonlacaj?

   19               THE DEFENDANT:     Yes.

   20               THE COURT:    Understanding what I've just said, do

   21   you still wish to give up your right to have Judge Block

   22   listen to the plea and are you prepared to proceed before me

   23   at this time?

   24               Mr. Campos?

   25               DEFENDANT G. CAMPOS:       Yes.



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    1               THE COURT:    Mr. Dizenzo?

    2               DEFENDANT DIZENZO:      Yes.

    3               THE COURT:    Mr. Simonlacaj?

    4               DEFENDANT SIMONLACAJ:      Yes.

    5               THE COURT:    Have any promises or threats been made

    6   to you to get you to agree to have me hear your plea?

    7               Mr. Campos?

    8               DEFENDANT G. CAMPOS:       No.

    9               THE COURT:    Mr. Dizenzo?

   10               DEFENDANT DIZENZO:      No.

   11               THE COURT:    I find that the consent of each of these

   12   three defendants is knowing, intelligent and voluntary and,

   13   therefore, I am prepared to proceed.

   14               Addressing the three defendants before accepting

   15   your guilty plea, there are a number of questions that I have

   16   to ask you to make sure that it's a valid plea.            If you don't

   17   understand any of my questions, please say so and I'll reword

   18   the question.

   19               Starting with Mr. Campos, how old are you, sir?

   20               DEFENDANT G. CAMPOS:       Seventy-three.

   21               THE COURT:    How far did you go in school?

   22               DEFENDANT G. CAMPOS:       I didn't graduate high school

   23   so I -- the 9th, the 10th.

   24               THE COURT:    Grades?

   25               DEFENDANT G. CAMPOS:       I don't remember exactly.



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  1               THE COURT:    Ninth or 10th grade?

  2               MR. CAMPOS:    Hello?

  3               THE COURT:    Ninth or 10th grade?

  4               DEFENDANT G. CAMPOS:       Yes.

  5               THE COURT:    Have you had any difficulty

  6   communicating with your attorney?

  7               DEFENDANT G. CAMPOS:       Excuse me?

  8               THE COURT:    Have you had any difficulty

  9   communicating with your attorney?

 10               DEFENDANT G. CAMPOS:       Not at all.

 11               THE COURT:    Are you now or have you recently been

 12   under the care of a doctor or psychiatrist?

 13               DEFENDANT G. CAMPOS:       Well, medical doctor but not a

 14   psychiatrist.

 15               THE COURT:    And what problem, medical problem or

 16   condition are you being treated for?

 17               DEFENDANT G. CAMPOS:       Well, now I'm just on

 18   medication for my heart.       I had a stent put in and I had a

 19   little surgery, I forgot, not on the heart itself, about a

 20   year ago.

 21               THE COURT:    How long ago?

 22               DEFENDANT G. CAMPOS:       About a year ago.

 23               THE COURT:    And what medications are you taking for

 24   your heart, prescription medications?

 25               DEFENDANT G. CAMPOS:       Yes.



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  1               THE COURT:    And within the past 24 hours, have you

  2   taken those prescribed medications in the prescribed doses?

  3               DEFENDANT G. CAMPOS:       Yes.

  4               THE COURT:    Other than those prescribed medications,

  5   within the past 24 hours, have you taken any drugs, narcotics,

  6   medicine or pills or drunk any alcoholic beverages?

  7               DEFENDANT G. CAMPOS:       No.

  8               THE COURT:    Have you ever been hospitalized or

  9   treated for substance abuse or for any mental or emotional

 10   problem?

 11               DEFENDANT G. CAMPOS:       No.

 12               THE COURT:    Is your mind clear now?

 13               DEFENDANT G. CAMPOS:       Yes.

 14               THE COURT:    Do you understand what's going on here

 15   now?

 16               DEFENDANT G. CAMPOS:       Yes, I do.

 17               THE COURT:    All right.     Turning now to Mr. Dizenzo,

 18   how old are you?

 19               DEFENDANT DIZENZO:     Fifty-four.

 20               THE COURT:    How far did you go in school?

 21               DEFENDANT DIZENZO:     Two years of community college.

 22               THE COURT:    Have you had any difficulty

 23   communicating with your attorney?

 24               DEFENDANT DIZENZO:     No.

 25               THE COURT:    Are you now or have you recently been in



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  1   the care of a physician or psychiatrist?

  2                DEFENDANT DIZENZO:    No.

  3                THE COURT:    In the past 24 hours, have you taken any

  4   drugs, narcotics, medicine or pills or drunk any alcoholic

  5   beverages?

  6                DEFENDANT DIZENZO:    No.

  7                THE COURT:    Have you ever been hospitalized for

  8   substance abuse or for any mental or emotional problems?

  9                DEFENDANT DIZENZO:    No.

 10                THE COURT:    Is your mind clear now?

 11                DEFENDANT DIZENZO:    Yes.

 12                THE COURT:    Do you understand what's going on here

 13   today?

 14                DEFENDANT DIZENZO:    Yes.

 15                THE COURT:    Mr. Simonlacaj, how old are you?

 16                Mr. Simonlacaj, how old are you?

 17                DEFENDANT SIMONLACAJ:      Fifty-one, Your Honor.

 18                THE COURT:    How far did you go in school?

 19                DEFENDANT SIMONLACAJ:      I have a Bachelor's degree in

 20   management.

 21                THE COURT:    Have you had any difficulty

 22   communicating with your attorney?

 23                DEFENDANT SIMONLACAJ:      No, not at all.

 24                THE COURT:    Are you now or have you recently been

 25   under the care of a doctor or psychiatrist?



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  1               DEFENDANT SIMONLACAJ:      Doctor, Your Honor,

  2   cardiologist.

  3               THE COURT:    You are currently under the care of a

  4   cardiologist?

  5               DEFENDANT SIMONLACAJ:      Yes, ma'am.

  6               THE COURT:    And have you had any surgery related to

  7   your heart?

  8               DEFENDANT SIMONLACAJ:      No.

  9               THE COURT:    I'm sorry.    I couldn't hear you.

 10               DEFENDANT SIMONLACAJ:      No.

 11               THE COURT:    Are you taking any prescribed

 12   medications for your heart?

 13               DEFENDANT SIMONLACAJ:      Just aspirin daily.

 14               THE COURT:    And other than the aspirin -- you took

 15   the aspirin within the last 24 hours?

 16               DEFENDANT SIMONLACAJ:      Yes.

 17               THE COURT:    Other than the aspirin, within the last

 18   24 hours, have you taken any drugs, narcotics, medicine or

 19   pills or drunk any alcoholic beverages?

 20               DEFENDANT SIMONLACAJ:      No, Your Honor.

 21               THE COURT:    Have you ever been hospitalized or

 22   treated for substance abuse or for any mental or emotional

 23   problem?

 24               DEFENDANT SIMONLACAJ:      No.

 25               THE COURT:    Is your mind clear now?



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  1               DEFENDANT SIMONLACAJ:       Yes.

  2               THE COURT:    Do you understand what's going on here

  3   now?

  4               DEFENDANT SIMONLACAJ:       Yes.

  5               THE COURT:    Addressing the three defense attorneys

  6   now, have you discussed the matter of pleading guilty with

  7   your client?

  8               Mr. Miedel?

  9               MR. MIEDEL:    Yes, I have.    Yes, I have.

 10               THE COURT:    Why don't I continue and with Mr. Miedel

 11   and then I'll do the other two.

 12               Mr. Miedel, in your view, does Mr. Campos understand

 13   the rights he will be waiving by pleading guilty?

 14               MR. MIEDEL:    Yes, he does.

 15               THE COURT:    Is he capable of understanding the

 16   nature of these proceedings?

 17               MR. MIEDEL:    Yes, he is.

 18               THE COURT:    Do you have any doubt as to his

 19   competence to plead at this time?

 20               MR. MIEDEL:    I do not.

 21               THE COURT:    Have you advised him of the maximum

 22   sentence and fine that can be imposed and have you discussed

 23   with him the effect of the sentencing guidelines?

 24               MR. MIEDEL:    Yes.

 25               THE COURT:    Mr. Monteleon, have you discussed the



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  1   matter of pleading guilty with Mr. Dizenzo?

  2               DEFENDANT DIZENZO:     Yes, Your Honor.

  3               THE COURT:    In your view, does it seem he

  4   understands the rights he will be waiving by pleading guilty?

  5               MR. MONTELEON:     Yes, Your Honor.

  6               THE COURT:    Is he capable of understanding the

  7   nature of these proceedings?

  8               MR. MONTELEON:     Yes, Your Honor.

  9               THE COURT:    Do you have any doubt as to his

 10   competence to plead at this time?

 11               MR. MONTELEON:     No, I don't, Your Honor.

 12               THE COURT:    Have you advised him of the maximum

 13   fines that can be imposed and have you discussed with him the

 14   sentencing guidelines?

 15               MR. MONTELEON:     Yes, I have, Your Honor.

 16               THE COURT:    All right.    If you could please mute

 17   your audio.

 18               Mr. Colton, have you discussed the matter of

 19   pleading guilty with Mr. Simonlacaj?

 20               MR. COLTON:    Yes, Your Honor.

 21               THE COURT:    In your view, dose he understand the

 22   rights he will be waiving by pleading guilty?

 23               MR. COLTON:    Yes, Your Honor.

 24               THE COURT:    Is he capable of understanding the

 25   nature of these proceedings?



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  1               MR. COLTON:    Yes, Your Honor.

  2               THE COURT:    Do you have any doubt as to his

  3   competence to plead at this time?

  4               MR. COLTON:    No, Your Honor.

  5               THE COURT:    Have you advised him of the maximum

  6   sentence and fine that can be imposed and have you discussed

  7   with him the effect of the sentencing guidelines?

  8               MR. COLTON:    Yes, Your Honor.

  9               THE COURT:    Turning back to the three defendants,

 10   and with respect to Mr. Dizenzo, please unmute your audio only

 11   when you specifically are answering my question.

 12               Have you each had an opportunity to discuss your

 13   case with your attorney and are you satisfied to have him

 14   represent you?

 15               Mr. Campos?

 16               DEFENDANT G. CAMPOS:       Yes.

 17               THE COURT:    Mr. Dizenzo?

 18               DEFENDANT DIZENZO:     Yes.

 19               THE COURT:    Mr. Simonlacaj?

 20               DEFENDANT SIMONLACAJ:      Yes.

 21               THE COURT:    Have you each received a copy of the

 22   indictment that has been filed against you and have you

 23   consulted with your attorney about the indictment?

 24               Mr. Campos?

 25               DEFENDANT G. CAMPOS:       Yes.



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  1               THE COURT:     Mr. Dizenzo?

  2               DEFENDANT DIZENZO:     Yes.

  3               THE COURT:     Mr. Simonlacaj?

  4               DEFENDANT SIMONLACAJ:      Yes.

  5               THE COURT:     I am now going to explain to each of you

  6   the count that I understand you are prepared to plead guilty

  7   to.

  8               Mr. Campos, I understand that you are prepared to

  9   plead guilty to Count 10 of the indictment which charges you

 10   with making, with participating in a conspiracy to make false

 11   statements.

 12               More specifically, that count, Count 10, charges, in

 13   substance, that between approximately January of 2018 and June

 14   of 2019, you and others knowingly and intentionally conspired

 15   or agreed to make false and fraudulent statements within the

 16   jurisdiction, within the DOL of the OSHA Outreach training

 17   program in that you agreed to state and represent that certain

 18   individuals had obtained, had attended certain OTP courses

 19   when, in fact, as you knew, the individuals had not attended

 20   those courses.       It is further alleged that certain acts were

 21   taken to accomplish the goals of that conspiracy.

 22               In order to prove you guilty of that offense, the

 23   government would have to prove the following beyond a

 24   reasonable doubt.      First, that during that approximate time

 25   period, as alleged in Count Ten, you and others conspired or



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  1   agreed to commit a federal offense.           The government would

  2   further have to prove that that offense was to make false

  3   statements.

  4               Specifically, the government would have to prove

  5   that during the approximate dates charged in the indictment,

  6   you and others were to falsify a fact; second, that the fact

  7   that was to be falsified was a material one; third, that you

  8   and others did, were to do so by trick, scheme or device;

  9   fourth, that you acted knowingly and intentionally and not

 10   because of some mistake or innocent reason; fifth, that the

 11   falsification, concealment or coverup was with respect to a

 12   matter within the jurisdiction of the government of the United

 13   States, here, the United States Department of Labor,

 14   Occupational and Safety Health Act Outreach training program.

 15   In addition, the government would have to prove that you or

 16   one of your co-conspirators committed an overt act, that is,

 17   took a step to further the conspiracy that is alleged in

 18   Count Ten of the indictment.

 19               Mr. Campos, do you understand that charge?

 20               DEFENDANT G. CAMPOS:       Yes.

 21               THE COURT:    Mr. Dizenzo, I understand that you are

 22   prepared to plead guilty to Count 18 of the indictment.           That

 23   count charges a wire fraud conspiracy relating to a

 24   construction company known as --

 25               MR. MONTELEON:     Judge, if I may, you broke up a



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  1   little bit.    Can you just give us the count again?

  2               THE COURT:    Yes.   Count 18, a wire fraud conspiracy

  3   involving Construction Company Number 2.

  4               More specifically, Count 18 alleges that between

  5   approximately December of 2008 and June of 2019, you and

  6   others knowingly and intentionally conspired or agreed to

  7   devise a scheme and artifice to defraud Construction Company

  8   Number 2, including depriving the construction company of its

  9   right to honor services and also to obtain money and property

 10   from that company by means of materially false and fraudulent

 11   representations and that for the purpose of executing that

 12   scheme, the wire communications in interstate commerce were

 13   used, specifically interstate e-mails.

 14               In order to prove you guilty of that offense, the

 15   government would have to prove the following beyond a

 16   reasonable doubt.

 17               First, during the approximate time period alleged in

 18   Count 18, you conspired or agreed with others to violate the

 19   wire fraud statute and in order to prove that a legal

 20   objective, the government would have to establish the

 21   following beyond a reasonable doubt:        That you and others

 22   agreed to participate in a scheme or artifice to defraud

 23   Construction Company Number 2 of property or its right to

 24   honor services of its employees by using false and fraudulent

 25   representations; second, that you acted knowingly and with



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  1   intent to defraud; third, that the misrepresentation or

  2   omission was material and, fourth, the government would have

  3   to prove the use of the wires in furthering that scheme

  4   including using interstate e-mails.

  5               Do you understand Count 18 of the indictment?

  6               DEFENDANT DIZENZO:     Yes.

  7               THE COURT:    And Mr. Simonlacaj, I understand that

  8   you are prepared to plead guilty to Count 21 of the indictment

  9   which charges you with submitting a false tax return.

 10               More specifically, it alleges that on approximately

 11   March 15th of 2019, you and others knowingly and willfully

 12   made and subscribed a false 1040 tax return for the tax year

 13   2018 which was verified by a written declaration that it was

 14   made under the penalties of perjury and which was filed with

 15   the IRS and knowing that it was not true and correct as to one

 16   or more material matters in that the income tax return falsely

 17   reported a total income of almost $534,000, whereas, as you

 18   knew at the time, your total income was substantially greater

 19   than the reported amount.

 20               In order to prove you guilty of that offense, the

 21   government would have to prove the following beyond a

 22   reasonable doubt.

 23               First, that on or about the time alleged in the

 24   complaint, you subscribed, that is, signed and filed a U.S.

 25   1040 tax return; second, that the return contained a written



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  1   declaration, that it was made under penalty of perjury; third,

  2   that you did not believe the return to be true and correct as

  3   to every material matter; and, fourth, that you acted

  4   knowingly and intentionally and not because of some mistake or

  5   innocent reason.

  6               Do you understand that charge?

  7               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

  8               THE COURT:    And have you discussed that charge with

  9   your attorney?

 10               DEFENDANT SIMONLACAJ:      Yes, I have.

 11               THE COURT:    Addressing all three defendants and,

 12   again, Mr. Dizenzo, please unmute your audio only when you are

 13   responding to the questions.       I want to explain to each of you

 14   the rights that you will be giving up by pleading guilty but

 15   the most important thing that you have to understand is that

 16   you do not have to plead guilty.        You have an absolute right

 17   to plead not guilty even if you are guilty.

 18               Do you understand that, Mr. Campos?

 19               DEFENDANT G. CAMPOS:       Yes.

 20               THE COURT:    Do you understand that, Mr. Dizenzo?

 21               DEFENDANT DIZENZO:     Yes.

 22               THE COURT:    Do you understand that, Mr. Simonlacaj?

 23               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 24               THE COURT:    If you plead not guilty, then under the

 25   constitution and laws of the United States, you are entitled



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  1   to a speedy and public trial by a jury with the assistance of

  2   counsel on the charges contained in the indictment against

  3   you.

  4               Do you understand that, Mr. Campos?

  5               DEFENDANT G. CAMPOS:       Yes.

  6               THE COURT:    Do you understand that, Mr. Dizenzo?

  7               Mr. Dizenzo?

  8               DEFENDANT DIZENZO:     Yes.   Yes.

  9               THE COURT:    Do you understand that, Mr. Simonlacaj?

 10               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 11               THE COURT:    You have the right to be represented by

 12   an attorney at every stage of the proceeding including trial

 13   and if you cannot afford counsel, you have the right to have

 14   the court appoint an attorney to represent you at no charge to

 15   you.

 16               Do you understand that, Mr. Campos?

 17               DEFENDANT G. CAMPOS:       Yes.

 18               THE COURT:    Do you understand that, Mr. Dizenzo?

 19               DEFENDANT DIZENZO:     Yes.

 20               THE COURT:    Do you understand that, Mr. Simonlacaj?

 21               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 22               THE COURT:    At the trial, you would be presumed to

 23   be innocent and the government would have to overcome that

 24   presumption and prove you guilty by competent evidence and

 25   beyond a reasonable doubt.       You would not have to prove that



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  1   you were innocent and if the government fails to prove you

  2   guilty beyond a reasonable doubt, the jury would have the duty

  3   to find you not guilty.

  4                Do you understand that, Mr. Campos?

  5                DEFENDANT G. CAMPOS:       Yes.

  6                THE COURT:    Do you understand that, Mr. Dizenzo?

  7                DEFENDANT DIZENZO:    Yes.

  8                THE COURT:    Do you understand that, Mr. Simonlacaj?

  9                DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 10                THE COURT:    In the course of the trial, the

 11   witnesses for the government would have to come to court and

 12   testify in your presence and your attorney would have the

 13   right to cross-examine the witnesses for the government and

 14   object to evidence offered by the government, to offer

 15   evidence on your behalf and to compel the attendance of

 16   witnesses.

 17                Do you understand that, Mr. Campos?

 18                DEFENDANT G. CAMPOS:       Yes.

 19                THE COURT:    Do you understand that, Mr. Dizenzo?

 20                DEFENDANT DIZENZO:    Yes.

 21                THE COURT:    Do you understand that, Mr. Simonlacaj?

 22                DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 23                THE COURT:    At a trial, while you would have the

 24   right to testify if you chose to do, you could you not be

 25   required to testify.       Under the constitution of the United



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  1   States, you cannot be compelled to incriminate yourself.            If

  2   you decided not to testify, the court would, at your lawyers'

  3   request, instruct the jurors that they could not hold that

  4   against you.

  5                Do you understand that, Mr. Campos?

  6                DEFENDANT G. CAMPOS:       Yes.

  7                THE COURT:    Do you understand that, Mr. Dizenzo?

  8                DEFENDANT DIZENZO:    Yes.

  9                THE COURT:    Do you understand that, Mr. Simonlacaj?

 10                DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 11                THE COURT:    If you plead guilty and the court

 12   accepts your plea, you will be giving up your constitutional

 13   rights to a trial and the other rights that I have just

 14   discussed.    There will be no further trial of any kind and no

 15   right of appeal from the judgment of guilty.          The court will

 16   simply enter a judgment of guilty on the basis of your guilty

 17   plea.

 18                Do you understand that, Mr. Campos?

 19                DEFENDANT G. CAMPOS:       Yes.

 20                THE COURT:    Do you understand that, Mr. Dizenzo?

 21                DEFENDANT DIZENZO:    Yes.

 22                THE COURT:    Do you understand that, Mr. Simonlacaj?

 23                DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 24                THE COURT:    If you plead guilty, I will have to ask

 25   you questions about what you did in order to satisfy myself



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  1   and Judge Block that you are, in fact, guilty of the charge to

  2   which you seek to plead guilty and you will have to answer my

  3   questions and admit your guilt.         In that way, you will be

  4   giving up your right not to incriminate yourself.

  5                Do you understand that, Mr. Campos?

  6                DEFENDANT G. CAMPOS:       Yes.

  7                THE COURT:    Do you understand that, Mr. Dizenzo?

  8                DEFENDANT DIZENZO:    Yes.

  9                THE COURT:    Do you understand that, Mr. Simonlacaj?

 10                DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 11                THE COURT:    Understanding what I have just said, are

 12   you still willing to give up your right to a trial and the

 13   other rights that I have just discussed?

 14                Mr. Campos?

 15                DEFENDANT G. CAMPOS:       Yes.

 16                THE COURT:    Mr. Dizenzo?

 17                DEFENDANT DIZENZO:    Yes.

 18                THE COURT:    Mr. Simonlacaj?

 19                DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 20                THE COURT:    Turning first to Mr. Campos, I have

 21   before me a plea agreement that will be marked Court

 22   Exhibit 1.

 23                Turning to the last page of that document, have you

 24   reviewed your plea agreement with the government, have you

 25   read it in its entirety, discussed it with your attorney and



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  1   signed the document?

  2               DEFENDANT G. CAMPOS:       Yes.

  3               THE COURT:    Does Court Exhibit 1 fully and

  4   accurately reflect your understanding of the agreement you

  5   have reached with the government concerning your guilty plea?

  6               DEFENDANT G. CAMPOS:       Yes.

  7               THE COURT:    Other than the promises contained in

  8   this document, has anyone made any promise to you that has

  9   caused you to plead guilty?

 10               DEFENDANT G. CAMPOS:       No.

 11               THE COURT:    Has anyone made any promise to you as to

 12   what your sentence will be?

 13               DEFENDANT G. CAMPOS:       No.

 14               THE COURT:    Turning now to Mr. Dizenzo, I'm going to

 15   mark your plea agreement as Court Exhibit 2.

 16               Have you read that document in its entirety and

 17   discussed it with your attorney and signed it?

 18               DEFENDANT DIZENZO:     Yes.

 19               THE COURT:    Does this document fully and accurately

 20   reflect your understanding of the agreement you have reached

 21   with the government concerning your guilty plea?

 22               DEFENDANT DIZENZO:     Yes.

 23               THE COURT:    Other than the promises contained in

 24   this document, has anyone made any promises that caused you to

 25   plead guilty?



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  1               DEFENDANT DIZENZO:     No.

  2               THE COURT:    Has anyone made any promises as to when

  3   your sentence will be?

  4               DEFENDANT DIZENZO:     No.

  5               THE COURT:    Turning now to Mr. Simonlacaj, I am

  6   going to mark your plea agreement as Court Exhibit 3.

  7               Have you read this entire document, discussed it

  8   with your attorney and signed it?

  9               DEFENDANT SIMONLACAJ:      Yes.

 10               THE COURT:    Does this document fully and accurately

 11   reflect your understanding of the agreement you have reached

 12   with the government concerning your guilty plea?

 13               DEFENDANT SIMONLACAJ:      Yes.

 14               THE COURT:    Other than the promises contained in

 15   this document, has anyone made any promise that has caused you

 16   to plead guilty?

 17               DEFENDANT SIMONLACAJ:      No.

 18               THE COURT:    Has anyone made any promise to you as to

 19   what your sentence will be?

 20               DEFENDANT SIMONLACAJ:      No.

 21               THE COURT:    I now want to explain to each of you

 22   what the sentencing scheme is that is applicable to the count

 23   to which you are pleading guilty.        I will start with

 24   Mr. Campos.

 25               The statute that you are accused of violating in



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  1   Count 10 of the indictment carries a prison term of up to

  2   five years.    Do you understand that?

  3               DEFENDANT G. CAMPOS:        Yes.

  4               THE COURT:    In addition to a prison term, the

  5   sentencing court can also impose a supervised release term of

  6   up to three years.     The supervised release term will follow

  7   any term of imprisonment and if you violate a condition of

  8   supervised release, you could then be sent back to prison for

  9   up to an additional two years.          If that happens, you would not

 10   receive credit for time already spent in prison nor will you

 11   receive credit for time previously served on post-release

 12   supervision.    Do you understand that?

 13               DEFENDANT CAMPOS:      Yes.

 14               THE COURT:    In addition, the sentencing court can

 15   also impose a fine of up to $250,000.            Do you understand that?

 16               DEFENDANT G. CAMPOS:        I didn't hear that.

 17               THE COURT:    I said that the court can also impose a

 18   fine of up to $250,000.        Do you understand that?

 19               DEFENDANT G. CAMPOS:        Yes.

 20               THE COURT:    The sentencing court will impose a

 21   mandatory $100 special assessment.         Do you understand that?

 22               DEFENDANT G. CAMPOS:        Yes.

 23               THE COURT:    I'm now going to address Mr. Dizenzo.

 24   Please leave your phone muted until I ask you to speak.

 25               The offense to which you are seeking to plead



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  1   guilty, Count 18, carries a prison term of up to 20 years.

  2               Do you understand that?

  3               DEFENDANT DIZENZO:      Yes.

  4               THE COURT:    Please mute your phone again.

  5               In addition to a prison term, the sentencing court

  6   can also impose a supervised release term of up to

  7   three years.    Again, as I indicated to Mr. Campos, the

  8   supervised release term will follow any term of imprisonment.

  9   If you violate a condition of supervised release, you could

 10   then be sent back to prison for up to an additional two years.

 11   If that happens, you would not receive credit for time already

 12   spent in prison, nor would you receive credit for time spent

 13   on post-release supervision.        Do you understand that?

 14               DEFENDANT DIZENZO:      Yes.

 15               THE COURT:    The sentencing court can also require

 16   that you pay restitution to the victim or victims of your

 17   offense.    Do you understand that?

 18               DEFENDANT DIZENZO:      Yes.

 19               THE COURT:    And Mr. Edelman, I am going to ask you

 20   if you have calculated an estimate as to the full amount of

 21   the losses.

 22               MR. EDELMAN:       We have, Your Honor.

 23               THE COURT:    And what is that amount?

 24               MR. EDELMAN:       For which count?

 25               THE COURT:    Well, for the count to which he has



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  1   pleading guilty unless he has agreed to pay more restitution

  2   than that.

  3                MR. EDELMAN:       No.   For Mr. Dizenzo, at this time,

  4   the government estimates that it's at least $40,000.

  5                THE COURT:    All right.        Mr. Dizenzo, the government

  6   indicates that it estimates that the full amount of the

  7   victims' losses in connection with Count 18 to which you are

  8   pleading guilty is $40,000.           It will be up to Judge Block to

  9   determine whether or not to impose restitution.               Well, it says

 10   it is mandatory.     It will be up to Judge Block to determine

 11   the amount if there is a dispute about the amount.

 12                Do you understand that, Mr. Dizenzo?

 13                DEFENDANT DIZENZO:        Yes, Your Honor.

 14                MR. MONTELEON:      If I may say one thing, Your Honor.

 15   We do dispute the amount.         We've had discussions with

 16   Mr. Edelman but we do dispute that amount.

 17                THE COURT:    I would just note for the record that

 18   that was Mr. Monteleon speaking.

 19                And Mr. Dizenzo, the sentencing court will also

 20   impose a mandatory $100 special assessment.            Do you understand

 21   that?

 22                DEFENDANT DIZENZO:        Yes, Your Honor.

 23                THE COURT:    Mr. Simonlacaj, the offense to which you

 24   are seeking to plead guilty in Count 21 carries a maximum term

 25   of imprisonment of three years.             Do you understand that?



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  1               DEFENDANT SIMONLACAJ:        Yes, Your Honor.

  2               THE COURT:     In addition to a prison term, the

  3   sentencing court can also impose a supervised release term of

  4   up to one year.      The supervised release term will follow any

  5   term of imprisonment and if you violate a condition of

  6   supervised release, you could then be sent back to prison for

  7   up to one year.      Again, if that happens, you would not receive

  8   credit for time already spent in prison nor would you receive

  9   credit for time previously served on post-release supervision.

 10               Do you understand that?

 11               DEFENDANT SIMONLACAJ:        Yes, Your Honor.

 12               THE COURT:     The sentencing court can also impose a

 13   fine of up to $100,000.        Do you understand that?

 14               DEFENDANT SIMONLACAJ:        Yes, Your Honor.

 15               THE COURT:     And Mr. Edelman, what is the

 16   government's estimate of the victims' losses, in this case, it

 17   would be the IRS, in connection with the offense in Count 21?

 18               MR. EDELMAN:       Your Honor, as to this count, we

 19   haven't come to a final determination.            Mr. Colton has

 20   provided us with evidence which he believes shows that there's

 21   no longer any restitution owed so that is something we'll

 22   explore when we get to sentencing.

 23               THE COURT:     All right.    Mr. Simonlacaj, there is

 24   mandatory restitution required in connection with a conviction

 25   on this count.       Mr. Edelman has indicated that it is your



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  1   position and your lawyer's position that you no longer owe any

  2   amount to the IRS, but if there is a dispute about that

  3   matter, it will be up to Judge Block to resolve the dispute

  4   and to determine the amount of restitution owed.

  5               Do you understand that?

  6               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

  7               THE COURT:    The court will impose a mandatory $100

  8   special assessment in connection with your conviction.           Do you

  9   understand that?

 10               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 11               THE COURT:    Another consequence of your conviction

 12   on a tax violation is the imposition of the cost of

 13   prosecution.    Do you understand that?

 14               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 15               THE COURT:    I now want to talk with all three of you

 16   about the sentencing guidelines.

 17               Under the Sentencing Reform Act of 1984, the United

 18   States Sentencing Commission has issued guidelines for judges

 19   to consider in determining the sentence in a criminal case.

 20   In determining the sentence, the court is obligated to

 21   calculate the applicable sentencing guideline range and to

 22   consider that range, possible departures under the guidelines

 23   and other sentencing factors including those specified by

 24   statute.

 25               Have you talked with your lawyer about how the



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  1   guidelines might apply to your case?

  2               Mr. Campos?

  3               DEFENDANT G. CAMPOS:       Yes.

  4               THE COURT:    Mr. Dizenzo?

  5               DEFENDANT DIZENZO:     Yes.

  6               THE COURT:    Mr. Simonlacaj?

  7               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

  8               THE COURT:    Each of you should understand that

  9   Judge Block will not be able to determine the guideline

 10   sentence for your case until after the Probation Department

 11   has prepared a presentence report and you and your attorney

 12   have had an opportunity to read it and to challenge the facts

 13   reported by the Probation Officer.

 14               Do you understand that, Mr. Campos?

 15               DEFENDANT G. CAMPOS:       Yes.

 16               THE COURT:    Do you understand that, Mr. Dizenzo?

 17               DEFENDANT DIZENZO:     Yes.

 18               THE COURT:    Do you understand that, Mr. Simonlacaj?

 19               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 20               THE COURT:    You should also understand that after it

 21   has been determined what guideline applies to a case, the

 22   judge has the authority to impose a sentence that is more

 23   severe or less severe than the sentence called for by the

 24   guidelines depending on what is a reasonable sentence.

 25               Do you understand that, Mr. Campos?



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  1               DEFENDANT G. CAMPOS:         Yes.

  2               THE COURT:    Do you understand that, Mr. Dizenzo?

  3               DEFENDANT DIZENZO:       Yes.

  4               THE COURT:    Do you understand that, Mr. Simonlacaj?

  5               DEFENDANT SIMONLACAJ:        Yes, Your Honor.

  6               THE COURT:    All right.      Addressing the guidelines

  7   calculation for Mr. Campos first, I'm going to ask the

  8   prosecutor and defense counsel, and we will do it for each

  9   defendant, what the guideline range for that particular

 10   defendant is likely to be, but I want all three of you to keep

 11   in mind that these estimates are simply estimates.           They are

 12   not binding upon Judge Block even if both the prosecutor and

 13   your lawyer happen to be in agreement.

 14               Turning first to Mr. Campos' plea agreement -- well,

 15   before I address Mr. Campos specifically, there is one

 16   provision that applies to all three of you that I want to

 17   bring to your attention and that is that the government's

 18   calculations as set forth in each of the plea agreements

 19   indicate that there will be a 2 level reduction for a global

 20   resolution of the entire case, but the 2 level reduction

 21   applies only if all the conditions set forth in paragraph 8

 22   have been established.         Among other things, it means that all

 23   12 defendants who are named in the same indictment must plead

 24   guilty by the end of this week and I can assure you that I

 25   have 12 guilty pleas scheduled before me this week.           So,



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  1   certainly, it's the court's expectation that will be done.

  2               Turning back now to Mr. Campos' plea agreement, the

  3   government has calculated an adjusted offense level of 4.

  4   Taking into account the global resolution and with another 2

  5   level reduction for acceptance of responsibility, that would

  6   result in a range of imprisonment of zero to 6 months assuming

  7   that Mr. Campos falls within Criminal History Category I.

  8               Correct?

  9               MR. EDELMAN:       That's correct, Your Honor.

 10               THE COURT:    And Mr. Miedel, you stipulated to that

 11   guideline stipulation, correct?

 12               MR. MIEDEL:    That is correct.

 13               THE COURT:    And Mr. Campos, you understand those

 14   calculations?

 15               DEFENDANT G. CAMPOS:         Yes.

 16               THE COURT:    Turning now to Mr. Dizenzo's agreement,

 17   according to paragraph 2 of Court Exhibit 2, the government

 18   has calculated an adjusted offense level of 11 taking into

 19   account a 2 point reduction for acceptance of responsibility.

 20   With a further 2 level reduction for acceptance of

 21   responsibility, that would result in an adjusted offense level

 22   of 9 and a range of imprisonment of 4 to 10 months assuming

 23   that Mr. Dizenzo falls within Criminal History Category I.

 24               Is that accurate, Mr. Edelman?

 25               MR. EDELMAN:       That's correct, Your Honor.



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  1               THE COURT:    And Mr. Monteleon, have you done your

  2   own calculations under the guidelines?

  3               MR. MONTELEON:     Judge, I have had conversations with

  4   Mr. Edelman.    We're in agreement regarding the base level, the

  5   global resolution acceptance reduction, however, we disagree

  6   as to the amount of loss.       We believe it's less than 40,000

  7   and if we were one level below, it would only be an increase

  8   of 4 points.

  9               THE COURT:    And so if you are correct, with an

 10   adjusted offense level of 7, what would the range of

 11   imprisonment be?

 12               MR. MONTELEON:     I believe it would be, Your Honor,

 13   zero to 6 months.     We fall in Category I, we believe.

 14               THE COURT:    All right.    And Mr. Dizenzo, do you

 15   understand the calculations of the government and your

 16   attorney?

 17               DEFENDANT DIZENZO:     Yes, Your Honor.

 18               THE COURT:    And you understand that it would be up

 19   to Judge Block to resolve any dispute regarding the amount of

 20   loss and, therefore, the resulting calculation under the

 21   guidelines?    Do you understand that?

 22               DEFENDANT DIZENZO:     Yes.

 23               THE COURT:    And, lastly, Mr. Simonlacaj, as to you,

 24   the government has calculated an adjusted offense level of 10,

 25   again, taking into account the 2 level reduction for global



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  1   resolution with a further 2 level reduction for acceptance of

  2   responsibility.      That would result in an adjusted offense

  3   level of 8 and a range of imprisonment of 4 to 10 months

  4   assuming that Mr. Simonlacaj falls within Criminal History

  5   Category II.

  6               Mr. Edelman, is that your calculation as to

  7   Mr. Simonlacaj?

  8               MR. EDELMAN:       Yes, Your Honor.

  9               THE COURT:    And Mr. Colton, have you done your own

 10   calculation under the guidelines?

 11               MR. COLTON:    We have, Your Honor, and it's going to

 12   be our position that it is at least 4 levels lower which would

 13   yield a sentencing guideline range of zero to 6 months.

 14               THE COURT:    And what is the basis for your dispute?

 15               MR. COLTON:    The base level under this particular

 16   statute is driven by the alleged loss amount under 2T4.1 and

 17   it is our position that the amount of tax that arguably should

 18   have been due in 2018 as opposed to 2019, which there is no

 19   allegation of falsity for '19, is lower than the government's

 20   estimate as to what should have been reported in '18.

 21               THE COURT:    All right.     Mr. Simonlacaj, you heard

 22   what the attorneys said.        Do you understand their

 23   calculations?

 24               DEFENDANT SIMONLACAJ:        Yes, Your Honor.

 25               THE COURT:    And do you understand that the dispute



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  1   regarding how to calculate the guidelines and the loss is a

  2   matter that will be resolved by Judge Block?

  3               DEFENDANT SIMONLACAJ:       Yes, Your Honor.

  4               THE COURT:    I'm not sure whether that music is

  5   someone's phone.     Thank you.

  6               I want to bring to the attention of the three

  7   defendants a particular provision that appears in each of the

  8   three agreements and that is paragraph 4.         That paragraph

  9   provides that the defendant agrees not to file an appeal or

 10   otherwise challenge his conviction or sentence in the event

 11   that the court imposes a term of imprisonment of a certain

 12   number of months or below.

 13               In the case of Mr. Campos, that's in the event the

 14   court imposes a term of imprisonment of six months or below.

 15   In the case of Defendants Dizenzo and Simonlacaj, that

 16   provision provides in the event the court imposes a term of

 17   imprisonment of 12 months or below.

 18               The number inserted in each of those agreements --

 19   well, let me just say this.       Under this agreement, you and

 20   your lawyers are free to argue before your sentence that you

 21   should not go to prison for as long as six months.           For

 22   example, I know that there are some disputes about the

 23   guidelines calculations.       Those can be litigated before

 24   Judge Block.    You can take the position that the government,

 25   at least in the case of Mr. Dizenzo and Mr. Simonlacaj, that



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  1   the government has overstated the adjusted offense level.            You

  2   can make the argument before Judge Block that in any event,

  3   you should be sentenced below the applicable guidelines range

  4   or if he is inclined to sentence you within the guideline

  5   range, to sentence you at the low end of the range rather than

  6   the upper end of the range.

  7               All of these arguments and other good faith

  8   arguments are available to you and your lawyer before

  9   Judge Block sentences you.       However, because of the language

 10   set forth in paragraph four of your plea agreement, once he

 11   sentences you, as long as the sentence does not exceed the

 12   amount specified in paragraph four, that is the end of the

 13   matter.    Even if you have lost all your arguments for

 14   leniency, even if he rejects any arguments about the

 15   overstatement of the guidelines' adjusted offense level, as

 16   long as he does not sentence you to prison for more than what

 17   is specified in your agreement, that is the end of the matter.

 18   You have agreed that you will not file an appeal or otherwise

 19   challenge your conviction or sentence in the event that the

 20   court imposes a term of imprisonment of the number of months

 21   specified or below.

 22               Do you understand that, Mr. Campos?

 23               DEFENDANT G. CAMPOS:       Yes.

 24               THE COURT:    Do you understand that, Mr. Dizenzo?

 25               DEFENDANT DIZENZO:     Yes.



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  1               THE COURT:    Do you understand that, Mr. Simonlacaj?

  2               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

  3               THE COURT:    You should also understand that parole

  4   has been abolished and that if you're sentenced to prison, you

  5   will not be released on parole.

  6               Do you understand that, Mr. Campos?

  7               DEFENDANT G. CAMPOS:       Yes.

  8               THE COURT:    Do you understand that, Mr. Dizenzo?

  9               DEFENDANT DIZENZO:     Yes.

 10               THE COURT:    Do you understand that, Mr. Simonlacaj?

 11               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 12               THE COURT:    Do any of you have any questions you

 13   would like to ask me about the charge, your rights or anything

 14   else relating to this matter?

 15               Mr. Campos?

 16               DEFENDANT G. CAMPOS:       No.

 17               THE COURT:    Mr. Dizenzo?

 18               DEFENDANT DIZENZO:     No.

 19               THE COURT:    Mr. Simonlacaj?

 20               DEFENDANT SIMONLACAJ:      No, Your Honor.

 21               THE COURT:    Starting with Mr. Campos, are you ready

 22   to plead?

 23               DEFENDANT CAMPOS:     Yes, I am.

 24               THE COURT:    Mr. Miedel, do you know any reason why

 25   your client should not plead guilty?



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  1               MR. MIEDEL:    No, Your Honor.

  2               THE COURT:    Are you aware of any viable legal

  3   defense to the charge?

  4               MR. MIEDEL:    No, Your Honor.

  5               THE COURT:    Mr. Campos, what is your plea to

  6   Count 10 of the indictment, guilty or not guilty?

  7               DEFENDANT G. CAMPOS:       Guilty.

  8               THE COURT:    Are you making this plea of guilty

  9   voluntarily and of your own free will?

 10               DEFENDANT G. CAMPOS:       My own free will.

 11               THE COURT:    Has anyone threatened or forced you to

 12   plead guilty?

 13               DEFENDANT G. CAMPOS:       No.

 14               THE COURT:    Other than the agreement with the

 15   government that has been marked Court Exhibit 1, has anyone

 16   made any promise to you that has caused you to plead guilty?

 17               DEFENDANT G. CAMPOS:       No.

 18               THE COURT:    Has anyone made any promise to you as to

 19   what your sentence will be?

 20               DEFENDANT G. CAMPOS:       No.

 21               THE COURT:    Again, Count 10 charges you with

 22   conspiring or agreeing to make a false statement in connection

 23   with the DOL administration of the OSHA Outreach training

 24   program between January of 2018 and June of 2019.

 25               Did you, in fact, do that?



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  1                DEFENDANT G. CAMPOS:         Yes.

  2                THE COURT:    Would you tell me in your own words what

  3   you did that makes you guilty of the offense charged in

  4   Count 10?

  5                DEFENDANT G. CAMPOS:         Between 2018 and 2019, I

  6   agreed with others that false statements would be submitted to

  7   the Department of Labor.         Specifically, I agreed with others

  8   that I would be, represent, represented to the Department of

  9   Labor that I attended OSHA certification course when, in fact,

 10   I did not.    I understand that this was wrong and against the

 11   law.

 12                MR. MIEDEL:    And, Your Honor, this is Florian

 13   Miedel.    I would just add that we do not dispute that the

 14   government says this happened in the Eastern District of

 15   New York.

 16                THE COURT:    All right.      And you say that you agreed

 17   to do that and did that, in fact, occur?               Were those false

 18   statements made?

 19                DEFENDANT G. CAMPOS:         Yes.

 20                THE COURT:    Mr. Edelman, is there any further

 21   inquiry you would like me to make of Mr. Campos?

 22                MR. EDELMAN:       I don't believe any further inquiry is

 23   required, Your Honor.       I would just note that we would

 24   establish at trial that those false statements were material

 25   to the Department of Labor's enforcement of the Outreach



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  1   training.

  2               THE COURT:    All right.     Before I go on to

  3   Mr. Dizenzo, I think what I will do is I will wrap up with

  4   Mr. Campos so that if he and Mr. Miedel want to sign off, they

  5   can.

  6               Well, actually, before I do that, Mr. Edelman, has

  7   an oral order and written order been entered under revised

  8   Rule 5(f) in this case?

  9               MR. EDELMAN:       There has not, Your Honor, because as

 10   Your Honor knows, Rule 5(f) came out after the case proceeded

 11   and we haven't actually been in court since that time but to

 12   the extent Your Honor or Judge Block wishes, obviously, that's

 13   appropriate and we'll confirm our knowledge of our Brady

 14   obligations.

 15               THE COURT:    Well, I do think it is appropriate since

 16   Brady applies not only to guilt but also to punishment so I

 17   think what I'll do is I'll keep Mr. Campos and Mr. Miedel on

 18   the line.    I will go through the allocutions of the other two

 19   defendants and at the conclusion, I will state on the record

 20   an oral Rule 5(f) order.

 21               Mr. Dizenzo, are you ready to plead?

 22               DEFENDANT DIZENZO:      Yes.

 23               THE COURT:    And Mr. Monteleon, is there any reason

 24   why your client should not plead guilty?

 25               MR. MONTELEON:      No, Your Honor.



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  1               THE COURT:    Are you aware of any viable legal

  2   defense to the charge?

  3               MR. MONTELEON:     No, Your Honor.

  4               THE COURT:    Mr. Dizenzo, what is your plea to

  5   Count 18 of the indictment, the wire fraud conspiracy charge

  6   relating to Construction Company Number 2, guilty or not

  7   guilty?

  8               DEFENDANT DIZENZO:     Guilty.

  9               THE COURT:    Are you making this plea of guilty

 10   voluntarily and of your own free will?

 11               DEFENDANT DIZENZO:     My own free will.

 12               THE COURT:    Has anyone threatened or forced you to

 13   plead guilty?

 14               DEFENDANT DIZENZO:     No.

 15               THE COURT:    Other than the agreement with the

 16   government, has anyone made any promises that caused you to

 17   plead guilty?

 18               DEFENDANT DIZENZO:     No.

 19               THE COURT:    Has anyone made any promise to you as to

 20   what your sentence will be?

 21               DEFENDANT DIZENZO:     No.

 22               THE COURT:    And I'm going to ask you to mute your

 23   audio for a minute.

 24               Count 18 alleges that between approximately December

 25   of 2018 and June of 2019, you and others conspired to engage



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  1   in a scheme and artifice to defraud Construction Company

  2   Number 2 of its right to honor services and of money and

  3   property by means of materially false representations and that

  4   interstate e-mails were sent in connection with that scheme.

  5                Did you, in fact, do that?

  6                DEFENDANT DIZENZO:    Yes.

  7                THE COURT:    Would you tell me in your own words what

  8   you did that makes you guilty of Count 18?

  9                DEFENDANT DIZENZO:    Between December 2018 and

 10   June 2019, within the Eastern District of New York, through

 11   the use of e-mails, I agreed with others to defraud

 12   Construction Company Number 2 by providing materials for

 13   construction at White Plains Gym for the benefit of an

 14   employee of Construction Company Number 2.         I billed an

 15   unrelated project of Construction Number 2.

 16                THE COURT:    In other words, you provided materials

 17   personally for use of that employee, but as part of the

 18   scheme, his employer was charged for those materials?

 19                DEFENDANT DIZENZO:    Yes.

 20                THE COURT:    And you knew that was wrong to do?

 21                DEFENDANT DIZENZO:    Yes.

 22                THE COURT:    Mr. Edelman, is there any further

 23   inquiry --

 24                (Videoconference interruption.)

 25                THE COURT:    I'm going to ask Mr. Monteleon to mute



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  1   the audio, please.

  2               All right.    I was addressing this question to

  3   Mr. Edelman.

  4               Is there any further inquiry you would like the

  5   court to make of Mr. Dizenzo?

  6               MR. EDELMAN:       Thank you, Your Honor.   I don't

  7   believe any further inquiry is required, but I note we would

  8   prove that the e-mails that were used in connection with the

  9   scheme were interstate e-mails given the location of the

 10   e-mail server at issue and although Mr. Dizenzo mentioned

 11   this, we would, in fact, prove that an act taken in

 12   furtherance of the conspiracy occurred in the Eastern District

 13   of New York.

 14               THE COURT:    All right.     And turning now to

 15   Mr. Simonlacaj, I will note at the outset that this count

 16   alleges that the acts occurred in the Southern District of

 17   New York so I take it there is going to be a waiver of venue?

 18               MR. COLTON:    This is Glenn Colton, attorney for

 19   Mr. Simonlacaj.      We are waiving venue as part of this plea

 20   proceeding.

 21               THE COURT:    All right.     Mr. Simonlacaj, are you

 22   ready to plead?

 23               DEFENDANT SIMONLACAJ:        Yes, Your Honor.

 24               THE COURT:    Mr. Colton, do you know any reason why

 25   your client should not plead guilty?



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  1               MR. COLTON:    No, Your Honor.

  2               THE COURT:    Are you aware of any viable legal

  3   defense to the charge?

  4               MR. COLTON:    No, Your Honor.

  5               THE COURT:    Mr. Simonlacaj, Count 21 charges you

  6   that on approximately March 15th of 2019, you and others

  7   knowingly and willfully made and subscribed a false and

  8   fraudulent 1040 for the tax year 2018 that was made under the

  9   penalties of perjury and filed with the IRS in which you

 10   falsely reported a total income of $534,915 when, as you knew,

 11   your total income was substantially greater than that amount.

 12               Did you, in fact, commit those acts?

 13               DEFENDANT SIMONLACAJ:      Yes, Your Honor.

 14               THE COURT:    Would you tell me in your own words what

 15   you did that makes you guilty of the offense charged in

 16   Count 21?

 17               DEFENDANT SIMONLACAJ:      I caused to be made a federal

 18   income tax return for 2018 that was filed on or about

 19   March 15th of 2019 and that contained a written declaration

 20   that it was made under the penalties of perjury.            That tax

 21   return did not include as income the value of certain progress

 22   on my residence that was not paid for.           At the time the return

 23   was filed, I resided in the Southern District of New York.

 24               Beginning in or around the latter part of 2018, my

 25   family undertook improvements to our residence which was to be



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  1   done by various contractors, one or more of which I understood

  2   would not be paid in full for their services.          A substantial

  3   majority of the work on the house was done in 2019, however, a

  4   limited portion of the work was performed or begun in 2018.

  5               A portion of the work performed or that began in

  6   2018 was provided by a contractor that I understood was

  7   providing some of their service for free.         While I was aware

  8   of the high probability that some of the value of work

  9   performed in 2018 by a contractor not expecting to be paid

 10   should be considered income in 2018 rather than in 2019 for

 11   federal tax purposes and should have been reported on the 2018

 12   return rather than the 2019 return.        I consciously avoided

 13   learning that.

 14               Despite the fact that the work performed in '18 by a

 15   contractor was not being paid in full was a small percentage

 16   of the home improvements.       I know that I should have paid more

 17   attention to what was reportable income for which year rather

 18   than consciously avoiding some income and a small percentage

 19   should have been reported earlier that year.          Despite the fact

 20   that I paid all taxes due to the home improvements in

 21   connection with the filing of 2019 tax return, I wish I had

 22   paid more attention to the timing.

 23               I also apologize to the court for my actions.

 24               THE COURT:    Mr. Edelman, do you have any further

 25   inquiry that you would like the court to make of



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  1   Mr. Simonlacaj?

  2                MR. EDELMAN:       No, Your Honor.

  3                THE COURT:    All right.     Based upon the information

  4   provided to me by each of the three defendants, I find that

  5   each defendant is acting voluntarily, that he fully

  6   understands his rights and the consequences of his plea and

  7   that there is a factual basis for each of the three pleas.            I

  8   therefore recommend that Judge Block accept each of the three

  9   pleas of guilty.

 10                Do would have a date for sentencing before

 11   Judge Block?

 12                THE CLERK:    No, Judge.     It will be set by Probation.

 13                THE COURT:    All right.     Each of the three defendants

 14   should understand that the Probation Department will be

 15   preparing a presentence report and I urge you to cooperate

 16   with your Probation Officer.

 17                Lastly, as I indicated earlier, I do want to put on

 18   the record an oral order arising under recently revised

 19   Rule 5(f).

 20                As I indicated, since Brady applied to punishment as

 21   well as guilt, I direct the prosecution to comply with its

 22   obligation, under Brady versus Maryland and its progeny, to

 23   disclose to the defense all information whether admissible or

 24   not that is favorable to the defendant, that is material

 25   either to guilt or to punishment and known to the prosecution.



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    1     Possible consequences for noncompliance may include dismissal

    2     of individual charges or the entire case, exclusion of

    3     evidence and professional discipline or court sanctions on the

    4     attorneys responsible.

    5                    I will be entering a written order more fully

    6     describing this obligation and the possible consequences of

    7     failing to meet it and I direct the prosecution to review and

    8     comply with that order.

    9                    Mr. Edelman, do you confirm that you understand the

   10     government's obligations, that you have fulfilled them and you

   11     will continue to do so?

   12                    MR. EDELMAN:        Yes, Your Honor.

   13                    THE COURT:       All right.        Is there anything further

   14     that we need to address?

   15                    MR. EDELMAN:        Not from the government, Your Honor.

   16                    THE COURT:       Anything from defendants?

   17                    MR. MONTELEON:          No, Your Honor.

   18                    MR. MIEDEL:        No, Your Honor.

   19                    MR. COLTON:        No, Your Honor.

   20                    THE COURT:       All right.        I am going to terminate this

   21     proceeding and I hope everyone stays safe and healthy and I

   22     apologize for the technical issues at the outset.                          Goodbye.

   23                    MR. EDELMAN:        Thank you, Your Honor.

   24                    MR. EDELMAN:        Thank you, Your Honor.

   25                    (Matter concluded.)


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I certify that the foregoing is a correct transcript from the record of proceedings in the above-entitled matter.
                              /s/ Charleane M. Heading        January 22, 2021
